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                      EXHIBIT 7
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       Generated on: This page was generated by TSDR on 2025-06-20 15:00:12 EDT
                 Mark:




  US Serial Number: 75140891                                                        Application Filing Jul. 29, 1996
                                                                                                Date:
     US Registration 2106744                                                       Registration Date: Oct. 21, 1997
           Number:
             Register: Principal
           Mark Type: Service Mark
     TM5 Common Status                                                           LIVE/REGISTRATION/Issued and Active
            Descriptor:
                                                                                 The trademark application has been registered with the Office.



               Status: The registration has been renewed.
         Status Date: Oct. 16, 2017
Publication Date:Jul. 29, 1997

                                                                   Mark Information
          Mark Literal None
           Elements:
 Standard Character No
            Claim:
       Mark Drawing 2 - AN ILLUSTRATION DRAWING WITHOUT ANY WORDS(S)/ LETTER(S) /NUMBER(S)
              Type:
       Design Search 24.15.10 - Arrows, more than one; More than one arrow
            Code(s): 24.15.25 - Other arrows
                     26.11.01 - Rectangles as carriers or rectangles as single or multiple line borders

                                                      Related Properties Information
 Claimed Ownership 1646401
              of US
      Registrations:

                                                                  Goods and Services
Note:
The following symbols indicate that the registrant/owner has amended the goods/services:
        Brackets [..] indicate deleted goods/services;
        Double parenthesis ((..)) identify any goods/services not claimed in a Section 15 affidavit of incontestability; and
        Asterisks *..* identify additional (new) wording in the goods/services.

                  For: restaurant services and carry-out restaurant services
         International 042 - Primary Class                                              U.S Class(es): 100, 101
            Class(es):
        Class Status: ACTIVE
            First Use: Dec. 1986                                                   Use in Commerce: Dec. 1986

                                                       Basis Information (Case Level)
            Filed Use: Yes                                                             Currently Use: Yes
            Filed ITU: No                                                               Currently ITU: No
            Filed 44D: No                                                              Currently 44D: No
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             Filed 44E: No                                                 Currently 44E: No
             Filed 66A: No                                                 Currently 66A: No
      Filed No Basis: No                                              Currently No Basis: No

                                                Current Owner(s) Information
          Owner Name: In-N-Out Burgers
     Owner Address: 4199 Campus Drive, Ninth Floor
                    Irvine, CALIFORNIA UNITED STATES 92612
   Legal Entity Type: CORPORATION                                        State or Country CALIFORNIA
                                                                        Where Organized:

                                         Attorney/Correspondence Information
                                                                 Attorney of Record
      Attorney Name: Valerie Sarigumba                                   Docket Number: IOB 60
    Attorney Primary rblake@innout.com                                    Attorney Email Yes
     Email Address:                                                          Authorized:
                                                                   Correspondent
      Correspondent Valerie Sarigumba
      Name/Address: IN-N-OUT BURGERS
                    4199 Campus Drive, 9th Floor
                    IRVINE, CALIFORNIA UNITED STATES 92612
                Phone: 949-509-6289
   Correspondent e- vsarigumba@innout.com rblake@innout.com             Correspondent e- Yes
              mail:                                                      mail Authorized:
                                                         Domestic Representative - Not Found

                                                         Prosecution History
                                                                                                                          Proceeding
   Date              Description
                                                                                                                          Number
Oct. 16, 2017      NOTICE OF ACCEPTANCE OF SEC. 8 & 9 - E-MAILED
Oct. 16, 2017      REGISTERED AND RENEWED (SECOND RENEWAL - 10 YRS)
Oct. 16, 2017      REGISTERED - SEC. 8 (10-YR) ACCEPTED/SEC. 9 GRANTED
Oct. 16, 2017      CASE ASSIGNED TO POST REGISTRATION PARALEGAL
Sep. 19, 2017      TEAS SECTION 8 & 9 RECEIVED
Jun. 30, 2011      CASE FILE IN TICRS
Feb. 21, 2007      CASE FILE IN TICRS
Jan. 04, 2007      REGISTERED AND RENEWED (FIRST RENEWAL - 10 YRS)
Jan. 04, 2007      REGISTERED - SEC. 8 (10-YR) ACCEPTED/SEC. 9 GRANTED
Dec. 29, 2006      ASSIGNED TO PARALEGAL
Oct. 27, 2006      REGISTERED - COMBINED SECTION 8 (10-YR) & SEC. 9 FILED
Oct. 27, 2006      PAPER RECEIVED
May 02, 2003       REGISTERED - SEC. 8 (6-YR) ACCEPTED & SEC. 15 ACK.
Feb. 05, 2003      REGISTERED - SEC. 8 (6-YR) & SEC. 15 FILED
Feb. 05, 2003      PAPER RECEIVED
Oct. 21, 1997      REGISTERED-PRINCIPAL REGISTER
Jul. 29, 1997      PUBLISHED FOR OPPOSITION
Jun. 27, 1997      NOTICE OF PUBLICATION
May 08, 1997       APPROVED FOR PUB - PRINCIPAL REGISTER
Apr. 28, 1997      CORRESPONDENCE RECEIVED IN LAW OFFICE
Feb. 04, 1997      NON-FINAL ACTION MAILED
Feb. 03, 1997      PREVIOUS ALLOWANCE COUNT WITHDRAWN
Jan. 29, 1997      APPROVED FOR PUB - PRINCIPAL REGISTER
Jan. 21, 1997      ASSIGNED TO EXAMINER

                                            TM Staff and Location Information
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                                               TM Staff Information - None
                                                      File Location
Current Location: GENERIC WEB UPDATE                      Date in Location: Oct. 16, 2017
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